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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiffs,                             4:18CR3013

     vs.
                                                             ORDER
MARSHAL MARSHALL,

                  Defendants.


       Defendant Marshall has moved for a review of the detention order and
 release to live at the Beacon House, in Grand Island, Nebraska. (Filing No.
 60). Under 18 U.S.C. § 3142(f) the magistrate judge may review detention
 only if “information exists that was not known to the movant at the time of the
 hearing and that has a material bearing” on the amelioration of the risks of
 nonappearance and safety. Motions for review of detention must specify the
 factual basis for the motion, the materiality of the facts to the issues, and that
 the information was not known previously. Defendant’s motion does not
 include this requisite information.


       Accordingly,


      IT IS ORDERED that Defendant’s motion to review detention, (Filing
 No. 60), is denied.

     July 17, 2018.
                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
